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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
 ------------------------------------------------------------------------x Case No.:
                                                                           3:24-cv-09172-MAS-RLS
 KEVIN BEASLEY and KEVIN BEASLEY
 STUDIO, LLC,

                    Plaintiffs,
                                                                            NOTICE OF MOTION
                  -against-

 MICHAEL FANELLI,

                   Defendant.

 -----------------------------------------------------------------------x

         PLEASE TAKE NOTICE, that upon the annexed Affidavit of Michael Fanelli,

 Memorandum of Law, and upon all pleadings and proceedings heretofore and herein, Defendant

 will move this Court at the United States District Court, District of New Jersey, at the

 Courthouse located at 402 East State Street, Trenton, NJ 08608, Courtroom 7W, on the 10th day

 of February, 2025, at 9:30 a.m. or as soon thereafter as counsel can be heard, for an Order

 pursuant to FRCP (60)(b)(1) vacating Plaintiffs’ default judgment; an Order pursuant to FRCP 62

 staying enforcement of the default judgment; and an Order pursuant to FRCP 12 to file an

 Answer to Plaintiffs’ claim.

         PLEASE TAKE FURTHER NOTICE, that answering papers, if any, are to be served

 upon the attorneys for Defendant within ten days after service of the motion pursuant to FRCP

 27(a)(3)(A)

 Dated: New York, New York
        January 16, 2025




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                                              WILKOFSKY, FRIEDMAN,
                                               KAREL & CUMMINS


                                          By: Harry Cummins
                                              Harry Cummins
                                              Attorneys for Defendant
                                              MICHAEL FANELLI
                                              299 Broadway - Suite 1700
                                              New York, New York 10007
                                              (212) 285-0510
                                              hcummins@wfkclaw.com

 TO: MAZZOLA LINDSTROM LLP
     Shan (Jessica) Chen
     Counsel for Plaintiffs
     1350 Avenue of the Americas, 2nd Floor
     New York, New York 10019
     (646) 416-6280
     jessica@mazzolalindstrom.com




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